Mr. Eddie W. Bunch 3011 West Grinde Road Little Rock, AR 72206
Dear Mr. Bunch:
This is in response to your request, received by this office on February 3, 1992, for certification pursuant to A.C.A. § 7-9-107, of the following popular name and ballot title:
(Popular Name)
  AN INITIATED ACT TO REPEAL THE MOTOR VEHICLE SEATBELT LAW, TO REPEAL THE MOTORCYCLE HEADGEAR LAW, AND TO PROHIBIT CITIES AND COUNTIES FROM ENACTING ORDINANCES WHICH REQUIRE SEATBELTS OR HEADGEAR
(Ballot Title)
  AN ACT TO REPEAL ARKANSAS CODE ANNOTATED §§ 27-37-701—706 AND § 27-20-104(b)(1) AND TO PROVIDE THAT NO FIRST OR SECOND CLASS CITY, INCORPORATED TOWN, OR COUNTY MAY HEREAFTER ENACT ANY ORDINANCE REQUIRING ANY PERSON TO WEAR A SEATBELT OR HEADGEAR WHEN OPERATING OR RIDING IN OR ON ANY MOTOR VEHICLE, MOTORCYCLE, MOTOR-DRIVEN CYCLE, OR ANY SIMILAR VEHICLE; AND TO PROVIDE THAT ALL CITY AND COUNTY ORDINANCES REQUIRING SEATBELTS OR HEADGEAR TO BE WORN BY PASSENGERS OR OPERATORS OF MOTOR VEHICLES, MOTORCYCLES, MOTOR-DRIVEN CYCLES, OR SIMILAR VEHICLES BE DECLARED NULL AND VOID.
The Attorney General is required pursuant to Section 7-9-107 to approve and certify the popular name and ballot title of all proposed initiative and referendum acts or amendments before the petitions are circulated for signature. The law provides that the Attorney General may substitute and certify a more suitable and correct popular name and ballot title, or if the proposed popular name and ballot title are sufficiently misleading, the entire petition may be rejected.
Section 7-9-107 neither requires nor authorizes this office to make legal determinations concerning the merits of the act or amendment or likelihood that it will accomplish its stated objective. Consequently, this review has been limited to determining whether the proposed popular name and ballot title accurately and impartially summarize the provisions of your proposed initiative.
The purpose of my review and certification is to insure that the popular name and ballot title honestly, intelligently, and fairly set forth the purpose of the proposed amendment. See ArkansasWomen's Political Caucus v. Riviere, 282 Ark. 463, 466,677 S.W.2d 846 (1984). The popular name is primarily a useful legislative device. Pafford v. Hall, 217 Ark. 734,233 S.W.2d 72 (1950). It need not contain detailed information or include exceptions which might be required of a ballot title, but it must not be misleading or give partisan coloring to the merit of the proposal. Chaney v. Bryant, 259 Ark. 294, 532 S.W.2d 741
(1976); Moore v. Hall, 229 Ark. 411, 316 S.W.2d 207 (1958). The popular name is to be considered together with the ballot title in determining its sufficiency. Id.
A ballot title must include an impartial summary of the proposed amendment which will give the voter a fair understanding of the issues presented. Hoban v. Hall, 229 Ark. 416, 417,316 S.W.2d 185 (1958); Becker v. Riviere, 270 Ark. 219, 223, 226,604 S.W.2d 555 (1980). It has been stated that the ballot title must contain any information that would "give the elector `serious ground for reflection'". Finn v. McCuen, 303 Ark. 418,798 S.W.2d 34 (1990), citing Gaines v. McCuen, 296 Ark. 513,758 S.W.2d 403 (1988). It has been stated that the ballot title must be: 1) intelligible, 2) honest, and 3) impartial. Becker v.McCuen, 303 Ark. 482, 798 S.W.2d 71 (1990) citing Leigh v.Hall, 232 Ark. 558, 339 S.W.2d 104 (1960).
Applying these precepts, it is my conclusion that the popular name and ballot title are sufficient as submitted. They are therefore hereby approved as submitted.
Pursuant to A.C.A. § 7-9-108, instructions to canvassers and signers are enclosed herewith.
The foregoing opinion, which I hereby approve, was prepared by Deputy Attorney General Elisabeth A. Walker.
Sincerely,
WINSTON BRYANT Attorney General
SD/WB:cyh